Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW MEXICO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Roman Catholic Church of the Archdiocese of Santa Fe

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4000 St. Josephs Place NW
                                  Albuquerque, NM 87120
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bernalillo                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.archdiosf.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




              Case 18-13027-t11 Voluntary
Official Form 201
                                   Doc 1Petition
                                             Filed   12/03/18 Entered 12/03/18 14:41:01 Page 1 of 207
                                                 for Non-Individuals Filing for Bankruptcy                                                           page 1
Debtor    Roman Catholic Church of the Archdiocese of Santa Fe                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




              Case 18-13027-t11 Voluntary
Official Form 201
                                   Doc 1Petition
                                             Filed   12/03/18 Entered 12/03/18 14:41:01 Page 2 of 207
                                                 for Non-Individuals Filing for Bankruptcy                                                                page 2
Debtor   Roman Catholic Church of the Archdiocese of Santa Fe                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                          Boilers for heating system in need of replacement. Estimated cost is roughly $3.2
                                                Other     million dollars. See attached.
                                                                              St. Pius-Catholic Center Campus
                                                                              4000 St. Josephs Place NW
                                             Where is the property?           Albuquerque, NM, 87120-0000
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No

                                                Yes.    Insurance agency      No coverage for long term wear
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




             Case 18-13027-t11 Voluntary
Official Form 201
                                  Doc 1Petition
                                            Filed   12/03/18 Entered 12/03/18 14:41:01 Page 3 of 207
                                                for Non-Individuals Filing for Bankruptcy                                                                  page 3
Debtor    Roman Catholic Church of the Archdiocese of Santa Fe                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 3, 2018
                                                  MM / DD / YYYY


                             X   /s/ Archbishop John C. Wester                                            Archbishop John C. Wester
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X   /s/ Bruce A. Anderson                                                     Date December 3, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bruce A. Anderson 3392 , Idaho State Bar #3392
                                 Printed name

                                 Elsaesser Anderson, Chtd.
                                 Firm name

                                 320 East Neider Avenue
                                 Suite 102
                                 Coeur D Alene, ID 83815
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (208) 667-2900                Email address      brucea@eaidaho.com

                                 3392 NM
                                 Bar number and State




             Case 18-13027-t11 Voluntary
Official Form 201
                                  Doc 1Petition
                                            Filed   12/03/18 Entered 12/03/18 14:41:01 Page 4 of 207
                                                for Non-Individuals Filing for Bankruptcy                                                                 page 4
                      St. Pius/Archdiocese Boiler System Status Summary
                                      November 30, 2018

       The boiler system serving both the Archdiocese and its buildings, and St. Pius X High
School and its buildings, was put into operation in approximately 1966 when the campus was St.
Joseph College, later to be known as the University of Albuquerque. There are two high
pressure steam boilers and a distribution system from the boilers to all buildings that supply
domestic hot water and steam for heating purposes. These boilers and the distribution system
need regular testing, chemical balancing and other mechanical adjustments to keep the system
going.

        St. Pius and the Archdiocese entered into a Utility Fund Agreement on March 13, 1998,
under which St. Pius was allocated 60% of the cost of various utilities, including the
boiler/heating system, and the Archdiocese was allocated 40% of such costs. The parties
established a fund and contribute to that fund each month for various utility charges. The cost of
maintaining and of replacing the boiler system would be paid on the same basis.

        The boilers over time have run down through extended use, and frequently fail to deliver
the necessary steam. The operator of the system, Deacon Burt Dohle, who succeeded his father
as the operator of the system, is nearing retirement and has warned that the system cannot last
much longer. There was a complete collapse of the steam and return condensate lines to St.
Clare Hall (one of the Catholic Center buildings) in August, 2017.          Ultimately, it was
determined that St. Clare would be taken off the boiler system with a replacement new heating
system. The cost of that conversion was $58,000. Many of the other buildings faced similar
disruptions in service. Because the boilers themselves are no longer manufactured, replacement
parts are difficult or impossible to obtain, and the underground distribution system is
deteriorating and difficult to repair as well. It was determined to explore other replacement
alternatives that would be energy efficient and newer.

       In May 2018, Trane US Inc. was called in to perform an energy efficiency audit of the
system to determine if it would possible to guarantee that their cost of replacement of the whole
system, amortized over the life of a loan to construct such replacements, would pay for itself in
energy/utility cost savings over that period. Trane determined that it could offer that guarantee.
Trane estimated that the system could last another year or two, or that it could collapse at any
time.

      Trane estimated that the cost of such energy efficient replacements would be in excess of
$3.2 Million Dollars.




                                                1

Case 18-13027-t11       Doc 1    Filed 12/03/18     Entered 12/03/18 14:41:01 Page 5 of 207
 Fill in this information to identify the case:

 Debtor name         Roman Catholic Church of the Archdiocese of Santa Fe

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 3, 2018                        X /s/ Archbishop John C. Wester
                                                                       Signature of individual signing on behalf of debtor

                                                                       Archbishop John C. Wester
                                                                       Printed name


                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy




            Case 18-13027-t11                       Doc 1            Filed 12/03/18           Entered 12/03/18 14:41:01 Page 6 of 207
 Fill in this information to identify the case:
 Debtor name Roman Catholic Church of the Archdiocese of Santa Fe
 United States Bankruptcy Court for the: DISTRICT OF NEW MEXICO                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Claimant C.M.                                                   Abuse Claim            Contingent                                                                      $100,000.00
 Tinkler Law Firm                                                against Debtor.        Unliquidated
 309 Johnson Street                                              Claimant's name        Disputed
 Santa Fe, NM 87501                                              and address to be
                                                                 filed under seal,
                                                                 after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 Claimant D.G.                                                   Abuse Claim            Contingent                                                                      $100,000.00
 Tinkler Law Firm                                                against Debtor.        Unliquidated
 309 Johnson Street                                              Claimant's name        Disputed
 Santa Fe, NM 87501                                              and address to be
                                                                 filed under seal,
                                                                 after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 Claimant J.N.                                                   Abuse Claim            Contingent                                                                      $100,000.00
 Tinkler Law Firm                                                against Debtor.        Unliquidated
 309 Johnson Street                                              Claimant's name        Disputed
 Santa Fe, NM 87501                                              and address to be
                                                                 filed under seal,
                                                                 after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                 Case 18-13027-t11                       Doc 1       Filed 12/03/18             Entered 12/03/18 14:41:01 Page 7 of 207
 Debtor    Roman Catholic Church of the Archdiocese of Santa Fe                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Claimants                                                       Abuse Claim            Contingent                                                                      $100,000.00
 c/o Tinkler Law Firm                                            against Debtor.        Unliquidated
 309 Johnson Street                                              Claimant's name        Disputed
 Santa Fe, NM 87501                                              and address to be
                                                                 filed under seal,
                                                                 after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 Jane Doe "I"                                                    Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 Jane Doe "L"                                                    Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 Jane Doe "M"                                                    Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 Jane Does "G, I, L                                              Abuse Claim            Contingent                                                                      $100,000.00
 and M"                                                          against Debtor.        Unliquidated
 c/o Brad D. Hall                                                Claimant's name        Disputed
 320 Gold Avenue,                                                and address to be
 SW, Ste 1218                                                    filed under seal,
 Albuquerque, NM                                                 after appropriate
 87102                                                           motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                 Case 18-13027-t11                       Doc 1       Filed 12/03/18             Entered 12/03/18 14:41:01 Page 8 of 207
 Debtor    Roman Catholic Church of the Archdiocese of Santa Fe                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 John Doe                                                        Abuse Claim            Contingent                                                                      $100,000.00
 c/o Merit Bennett                                               against Debtor.        Unliquidated
 460 St. Michael's                                               Claimant's name        Disputed
 Drive, Ste 703                                                  and address to be
 Santa Fe, NM 87505                                              filed under seal,
                                                                 after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe "90"                                                   Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe "91"                                                   Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe "92"                                                   Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe "93"                                                   Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                 Case 18-13027-t11                       Doc 1       Filed 12/03/18             Entered 12/03/18 14:41:01 Page 9 of 207
 Debtor    Roman Catholic Church of the Archdiocese of Santa Fe                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 John Doe "94"                                                   Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe "96"                                                   Abuse Claim            Contingent                                                                      $100,000.00
 c/o Brad D. Hall                                                against Debtor.        Unliquidated
 320 Gold Avenue,                                                Claimant's name        Disputed
 SW, Ste 1218                                                    and address to be
 Albuquerque, NM                                                 filed under seal,
 87102                                                           after appropriate
                                                                 motion. Amount
                                                                 reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe 1, c/o                                                 Abuse Claim            Contingent                                                                      $100,000.00
 Carolyn Nichols                                                 against Debtor.        Unliquidated
 Rothstein Donatelli,                                            Claimant's name        Disputed
 LLP                                                             and address to be
 500 Fourth Street                                               filed under seal,
 NW, Suite 400                                                   after appropriate
 Albuquerque, NM                                                 motion. Amount
 87102                                                           reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe 2, c/o                                                 Abuse Claim            Contingent                                                                      $100,000.00
 Carolyn Nichols                                                 against Debtor.        Unliquidated
 Rothstein Donatelli,                                            Claimant's name        Disputed
 LLP                                                             and address to be
 500 Fourth Street                                               filed under seal,
 NW, Suite 400                                                   after appropriate
 Albuquerque, NM                                                 motion. Amount
 87102                                                           reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe 4, c/o                                                 Abuse Claim            Contingent                                                                      $100,000.00
 Carolyn Nichols                                                 against Debtor.        Unliquidated
 Rothstein Donatelli,                                            Claimant's name        Disputed
 LLP                                                             and address to be
 500 Fourth Street                                               filed under seal,
 NW, Suite 400                                                   after appropriate
 Albuquerque, NM                                                 motion. Amount
 87102                                                           reported at
                                                                 $100,000.00 for
                                                                 purpose




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




               Case 18-13027-t11                        Doc 1        Filed 12/03/18            Entered 12/03/18 14:41:01 Page 10 of 207
 Debtor    Roman Catholic Church of the Archdiocese of Santa Fe                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 John Doe 5, c/o                                                 Abuse Claim            Contingent                                                                      $100,000.00
 Carolyn Nichols                                                 against Debtor.        Unliquidated
 Rothstein Donatelli,                                            Claimant's name        Disputed
 LLP                                                             and address to be
 500 Fourth Street                                               filed under seal,
 NW, Suite 400                                                   after appropriate
 Albuquerque, NM                                                 motion. Amount
 87102                                                           reported at
                                                                 $100,000.00 for
                                                                 purpose
 John Doe 6, c/o                                                 Abuse Claim            Contingent                                                                      $100,000.00
 Carolyn Nichols                                                 against Debtor.        Unliquidated
 Rothstein Donatelli,                                            Claimant's name        Disputed
 LLP                                                             and address to be
 500 Fourth Street                                               filed under seal,
 NW, Suite 400                                                   after appropriate
 Albuquerque, NM                                                 motion. Amount
 87102                                                           reported at
                                                                 $100,000.00 for
                                                                 purpose




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 5

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




               Case 18-13027-t11                        Doc 1        Filed 12/03/18            Entered 12/03/18 14:41:01 Page 11 of 207
 Fill in this information to identify the case:

 Debtor name            Roman Catholic Church of the Archdiocese of Santa Fe

 United States Bankruptcy Court for the:                       DISTRICT OF NEW MEXICO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       31,563,556.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       17,621,023.25

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       49,184,579.25


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,700,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,700,000.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy

           Case 18-13027-t11                                 Doc 1               Filed 12/03/18                        Entered 12/03/18 14:41:01 Page 12 of 207
 Fill in this information to identify the case:

 Debtor name         Roman Catholic Church of the Archdiocese of Santa Fe

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $2,121.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Bank of America
                    PO Box 25118
                    Tampa, FL 33622-5118

                    $3,276,487 are available unrestricted
                    funds, $762,298 are restricted funds,
                    and $1,349,542 are property held for
                    another.

                    Morgan Stanley
                    6565 Americas Pkwy NE
           3.1.     Albuquerque                                               Various. See Exhibit 1                                            $4,038,776.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                 $4,040,897.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18    Entered 12/03/18 14:41:01 Page 13 of 207
 Debtor           Roman Catholic Church of the Archdiocese of Santa                             Case number (If known)
                  Fe
                  Name

           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Workers Compensation Insurance with Catholic Mutual                                                                    $48,044.00




           8.2.     Seminarian prepaid tuition expenses to various colleges                                                               $111,188.00




 9.        Total of Part 2.                                                                                                           $159,232.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         3,179,355.00     -                                0.00 = ....              $3,179,355.00
                                              face amount                         doubtful or uncollectible accounts




           11b. Over 90 days old:                               714,784.00    -                        41,104.00 =....                    $673,680.00
                                              face amount                         doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                         $3,853,035.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                         Valuation method used   Current value of
                                                                                                         for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18    Entered 12/03/18 14:41:01 Page 14 of 207
 Debtor         Roman Catholic Church of the Archdiocese of Santa                              Case number (If known)
                Fe
                Name

           Name of fund or stock:
                     Morgan Stanley
                     6565 Americas Pkwy NE
                     Albuquerque, NM 87110

                     The Debtor is civilly incorporated as the "Roman Catholic
                     Church of Archdiocese of Santa Fe" (ASF). The Code of
                     Canon Law of the Roman Catholic Church requires that
                     each entity within the Archdiocese (e.g., parish, institution)
                     is a separate entity within the Church. The Debtor may have
                     title to property which is held for the benefit of those
                     separate entities. Therefore, except as otherwise stated, the
                     property listed on the attached list is held for the benefit of
                     the parishes and institutions of the Archdiocese, and is not
                     property of the estate. See Exhibit 2

                     Total value of such investment accounts is $11,493,965, of
                     which $2,578,233 is property held for another, and
           14.1.     $4,748,096 are restricted.                                                                                      $8,915,732.00



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership

 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                      $8,915,732.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                 Net book value of      Valuation method used   Current value of
                                                                               debtor's interest      for current value       debtor's interest
                                                                               (Where available)

 39.       Office furniture
           Office furniture                                                            $10,847.00     Estimated FMV                     $86,709.00



 40.       Office fixtures

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18   Entered 12/03/18 14:41:01 Page 15 of 207
 Debtor         Roman Catholic Church of the Archdiocese of Santa                              Case number (If known)
                Fe
                Name

           Office fixtures                                                                   $0.00    Estimated FMV                         $817.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer equipment ($18,080),
           communications equipment (12,419.60) and
           software (15,427.10)                                                          $9,721.00    Estimated FMV                     $45,926.00


           Office equipment                                                            $13,520.00     Estimated FMV                     $63,647.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Misc. collectibles                                                   $17,619.00                                       $123,054.25



 43.       Total of Part 7.                                                                                                           $320,153.25
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                 Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers               debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                       (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2008 Toyota 4 Runner                                                    $0.00    NADA                              $10,912.00


           47.2.     2002 Ford Ranger Pickup                                                 $0.00    NADA                                $4,475.00


           47.3.     2014 Buick LaCrosse                                                     $0.00    NADA                              $19,900.00


           47.4.     2015 Toyota Camry                                                       $0.00    NADA                              $14,625.00


           47.5.     2007 Chevy Silverado Pickup                                             $0.00    NADA                                $9,125.00


           47.6.     2004 Pace AME Trailer                                                   $0.00    NADA                                $4,899.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18   Entered 12/03/18 14:41:01 Page 16 of 207
 Debtor         Roman Catholic Church of the Archdiocese of Santa                              Case number (If known)
                Fe
                Name



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                           $63,936.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and           Net book value of       Valuation method used   Current value of
            property                                      extent of            debtor's interest       for current value       debtor's interest
            Include street address or other               debtor's interest    (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Real Property held by
                     Archdiocese of Santa
                     Fe - See Exhibit 3.

                     Values are assessed
                     and partially
                     appraised.                           Fee Simple                  $5,752,481.00                                  $31,563,556.00




 56.        Total of Part 9.                                                                                                       $31,563,556.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy

            Case 18-13027-t11                      Doc 1             Filed 12/03/18     Entered 12/03/18 14:41:01 Page 17 of 207
 Debtor         Roman Catholic Church of the Archdiocese of Santa                              Case number (If known)
                Fe
                Name



        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used   Current value of
                                                                               debtor's interest      for current value       debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            Internet domain names
            www.archdiosf.org
            www.archdioceseofsantafegiving.org/develop
            ment
            www.asfcatholicschools.org
            www.retreatabq.org
            www.ihmretreat.com
            www.archdiosf.booksys.net/opac/archdiosf/in
            dex.html
            www.asfworship.org
            www.asfym.org
            www.archbishopshour.com
            www.hispanicministryasf.org                                                      $0.00                                        Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy

            Case 18-13027-t11                      Doc 1             Filed 12/03/18   Entered 12/03/18 14:41:01 Page 18 of 207
 Debtor         Roman Catholic Church of the Archdiocese of Santa                                  Case number (If known)
                Fe
                Name

           Fr. Tobe, Fr. Pinon - auto loan                                       17,186.00 -                                    0.00 =
           receivable                                                    Total face amount       doubtful or uncollectible amount           $17,186.00


                                                                                 31,667.00 -                                    0.00 =
           St. Charles loans                                             Total face amount       doubtful or uncollectible amount           $31,667.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property
           The Martello Living Trust 25% Interest
           Current Present Value -0-                                                                                                                $0.00



 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           North American College - cash and accrued interest
           (illiquid)                                                                                                                       $37,468.00



           Software cost reimbursement receivable - Parishsoft                                                                                $4,946.00


           Background check reimbursement receivable -
           Simplifile                                                                                                                         $1,346.00



           Credit card clearing account                                                                                                       $9,425.00



           Priest long-term care overfunded valuation adjustment                                                                          $166,000.00




 78.       Total of Part 11.                                                                                                             $268,038.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18          Entered 12/03/18 14:41:01 Page 19 of 207
 Debtor          Roman Catholic Church of the Archdiocese of Santa                                                   Case number (If known)
                 Fe
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $4,040,897.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $159,232.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,853,035.00

 83. Investments. Copy line 17, Part 4.                                                                         $8,915,732.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $320,153.25

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $63,936.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $31,563,556.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $268,038.00

 91. Total. Add lines 80 through 90 for each column                                                       $17,621,023.25             + 91b.           $31,563,556.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $49,184,579.25




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy

            Case 18-13027-t11                          Doc 1           Filed 12/03/18                    Entered 12/03/18 14:41:01 Page 20 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 21 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 22 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 23 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 24 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 25 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 26 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 27 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 28 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 29 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 30 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 31 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 32 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 33 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 34 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 35 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 36 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 37 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 38 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 39 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 40 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 41 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 42 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 43 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 44 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 45 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 46 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 47 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 48 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 49 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 50 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 51 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 52 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 53 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 54 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 55 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 56 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 57 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 58 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 59 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 60 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 61 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 62 of 207
 Fill in this information to identify the case:

 Debtor name         Roman Catholic Church of the Archdiocese of Santa Fe

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Bank of America                                Describe debtor's property that is subject to a lien                          $0.00              $29,191.13
       Creditor's Name                                Credit cards secured by money market
                                                      account
       PO Box 15731
       Wilmington, DE 19886-5731
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       New Mexico Workers Comp
 2.2                                                                                                                                $0.00          $1,079,000.00
       Administration                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                Certificate of deposit securing line of credit
       2410 Centre Avenue SE
       Albuquerque, NM 87106
       Creditor's mailing address                     Describe the lien
                                                      Line of Credit
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18            Entered 12/03/18 14:41:01 Page 63 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                 Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18    Entered 12/03/18 14:41:01 Page 64 of 207
 Fill in this information to identify the case:

 Debtor name         Roman Catholic Church of the Archdiocese of Santa Fe

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Christine B. Romero                                                  Contingent
           c/o Pierre Levy of O'Friel and Levy
                                                                                Unliquidated
           PO Box 2084
           Santa Fe, NM 87504                                                   Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Breach of Employment Contract Claim
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Church of Ascension                                                  Contingent
           2150 Raymac SW
                                                                                Unliquidated
           Albuquerque, NM 87105
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Church of the Incarnation                                            Contingent
           2309 Monterrey Road NE
                                                                                Unliquidated
           Rio Rancho, NM 87144
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $100,000.00
           Claimant C.M.                                                        Contingent
           Tinkler Law Firm
                                                                                Unliquidated
           309 Johnson Street
           Santa Fe, NM 87501                                                   Disputed

           Date(s) debt was incurred                                                          Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
           Last 4 digits of account number                                   address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?       No     Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                         32682                                            Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 65 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Claimant D.G.                                                         Contingent
          Tinkler Law Firm
                                                                                Unliquidated
          309 Johnson Street
          Santa Fe, NM 87501                                                    Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Claimant J.N.                                                         Contingent
          Tinkler Law Firm
                                                                                Unliquidated
          309 Johnson Street
          Santa Fe, NM 87501                                                    Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Claimants                                                             Contingent
          c/o Tinkler Law Firm
                                                                                Unliquidated
          309 Johnson Street
          Santa Fe, NM 87501                                                    Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cristo Rey Parish                                                     Contingent
          1120 Canyon Road
                                                                                Unliquidated
          Santa Fe, NM 87501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,000.00
          Diocese of Gallup                                                     Contingent
          503 W Highway 66                                                      Unliquidated
          Gallup, NM 87301                                                      Disputed
          Date(s) debt was incurred      5/2016                              Basis for the claim:    Pledged amount paid over a five year period
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Estancia Valley Catholic Parish                                       Contingent
          PO Box 129
                                                                                Unliquidated
          Moriarty, NM 87035
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 66 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Holy Child                                                            Contingent
          PO Box 130
                                                                                Unliquidated
          Tijeras, NM 87059
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Holy Cross                                                            Contingent
          PO Box 1228
                                                                                Unliquidated
          Santa Cruz, NM 87567
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Holy Family                                                           Contingent
          PO Box 12127
                                                                                Unliquidated
          Albuquerque, NM 87195
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Holy Family - Chimayo                                                 Contingent
          PO Box 235
                                                                                Unliquidated
          Chimayo, NM 87522
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Holy Family - St. Joseph                                              Contingent
          PO Box 37
                                                                                Unliquidated
          Roy, NM 87743
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Holy Family Church                                                    Contingent
          355 Chicosa Street                                                    Unliquidated
          Roy, NM 87743                                                         Disputed
          Date(s) debt was incurred      6/2010                              Basis for the claim:    Pledged funds for capital projects
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Holy Ghost                                                            Contingent
          833 Arizona Street SE
                                                                                Unliquidated
          Albuquerque, NM 87108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 67 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Immaculate Conception                                                 Contingent
          619 Copper Avenue NW
                                                                                Unliquidated
          Albuquerque, NM 87102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Immaculate Conception - Cimarron                                      Contingent
          440 W. 18th Street
                                                                                Unliquidated
          Cimarron, NM 87714
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Immaculate Conception - Las Vegas                                     Contingent
          811 6th Street
                                                                                Unliquidated
          Las Vegas, NM 87701
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Immaculate Conception - Tome                                          Contingent
          PO Box 100                                                            Unliquidated
          Tome, NM 87060                                                        Disputed
          Date(s) debt was incurred 2008
                                                                             Basis for the claim:    Pledge to Meadow Lake Mission to purchase five
          Last 4 digits of account number                                    acres of land
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Immaculate Heart of Mary                                              Contingent
          3700 Canyon Road
                                                                                Unliquidated
          Los Alamos, NM 87544
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Jane Doe "I"                                                          Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 68 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Jane Doe "L"                                                          Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Jane Doe "M"                                                          Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Jane Does "G, I, L and M"                                             Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe                                                              Contingent
          c/o Merit Bennett
                                                                                Unliquidated
          460 St. Michael's Drive, Ste 703
          Santa Fe, NM 87505                                                    Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "67"                                                         Contingent
          Claimants c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 69 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "69"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "70"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "71"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "73"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "74"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 70 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "76"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "77"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "78"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "79"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "80"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 71 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "82"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "83"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "84"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "87"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "88"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 72 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "90"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "91"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "92"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "93"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "94"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 73 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe "96"                                                         Contingent
          c/o Brad D. Hall
                                                                                Unliquidated
          320 Gold Avenue, SW, Ste 1218
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe 1, c/o Carolyn Nichols                                       Contingent
          Rothstein Donatelli, LLP
                                                                                Unliquidated
          500 Fourth Street NW, Suite 400
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe 2, c/o Carolyn Nichols                                       Contingent
          Rothstein Donatelli, LLP
                                                                                Unliquidated
          500 Fourth Street NW, Suite 400
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe 4, c/o Carolyn Nichols                                       Contingent
          Rothstein Donatelli, LLP
                                                                                Unliquidated
          500 Fourth Street NW, Suite 400
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe 5, c/o Carolyn Nichols                                       Contingent
          Rothstein Donatelli, LLP
                                                                                Unliquidated
          500 Fourth Street NW, Suite 400
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 74 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          John Doe 6, c/o Carolyn Nichols                                       Contingent
          Rothstein Donatelli, LLP
                                                                                Unliquidated
          500 Fourth Street NW, Suite 400
          Albuquerque, NM 87102                                                 Disputed

          Date(s) debt was incurred                                                           Abuse Claim against Debtor. Claimant's name and
                                                                             Basis for the claim:
          Last 4 digits of account number                                    address to be filed under seal, after appropriate motion. Amount
                                                                             reported at $100,000.00 for purpose of these schedules only
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          La Santisima Trindad                                                  Contingent
          PO Box 189
                                                                                Unliquidated
          Arroyo Seco, NM 87514
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          N.S. de Guadalupe del Valle de Pojoaque                               Contingent
          9 Grazing Elk Drive
                                                                                Unliquidated
          Santa Fe, NM 87506-7140
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nativity of the Blessed Virgin Mary                                   Contingent
          9502 4th Street NW
                                                                                Unliquidated
          Albuquerque, NM 87114
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nuestra Senora de Guadalupe                                           Contingent
          PO Box 1270
                                                                                Unliquidated
          Pena Blanca, NM 87041
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nuestra Senora de Guadalupe - Taos                                    Contingent
          205 Don Fernando Street
                                                                                Unliquidated
          Taos, NM 87571
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 75 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Belen                                                     Contingent
          101 - A North 10th Street
                                                                                Unliquidated
          Belen, NM 87002
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Fatima                                                    Contingent
          4020 Lomas Blvd. NE
                                                                                Unliquidated
          Albuquerque, NM 87110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Guadalupe                                                 Contingent
          1860 Griegos Road NW
                                                                                Unliquidated
          Albuquerque, NM 87107
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Guadalupe - Clovis                                        Contingent
          108 North Davis Street
                                                                                Unliquidated
          Clovis, NM 88101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Guadalupe - Peralta                                       Contingent
          PO Box 10
                                                                                Unliquidated
          Peralta, NM 87042
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Guadalupe - Villanueva                                    Contingent
          PO Box 39
                                                                                Unliquidated
          Villanueva, NM 87583
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Lavang                                                    Contingent
          1015 Chelwood Park NE
                                                                                Unliquidated
          Albuquerque, NM 87112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 76 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Sorrows - Bernalilo                                       Contingent
          PO Box 607
                                                                                Unliquidated
          Bernalillo, NM 87004
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Sorrows - La Joya                                         Contingent
          PO Box 32
                                                                                Unliquidated
          La Joya, NM 87028
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of Sorrows - Las Vegas                                       Contingent
          403 Valencia Street                                                   Unliquidated
          Las Vegas, NM 87701
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Indemnification/Contribution
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of the Annunciation                                          Contingent
          2532 Vermont St. NE
                                                                                Unliquidated
          Albuquerque, NM 87110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of the Assumption                                            Contingent
          811 Guaymas Place NE
                                                                                Unliquidated
          Albuquerque, NM 87108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of the Assumption                                            Contingent
          Jemez Springs
                                                                                Unliquidated
          PO Box 10
          Jemez Springs, NM 87025-0010                                          Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Indemnification/Contribution
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Our Lady of the Most Holy Rosary                                      Contingent
          5415 Fortuna Road NW
                                                                                Unliquidated
          Albuquerque, NM 87105
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 77 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Prince of Peace Catholic Community                                    Contingent
          12500 Carmel Avenue NE
                                                                                Unliquidated
          Albuquerque, NM 87122
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Queen of Heaven                                                       Contingent
          5311 Phoenix Avenue NE
                                                                                Unliquidated
          Albuquerque, NM 87110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Risen Savior Catholic Community                                       Contingent
          7701 Wyoming Blvd. NE
                                                                                Unliquidated
          Albuquerque, NM 87109
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rudy Blea                                                             Contingent
          c/o Pierre Levy, O'Friel and Levy, P.C.
                                                                                Unliquidated
          644 Don Gaspar Avenue
          Santa Fe, NM 87505                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Tort Claim - Defamation of Character
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sacred Heart                                                          Contingent
          412 Stover Avenue SW
                                                                                Unliquidated
          Albuquerque, NM 87102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sacred Heart - Clovis                                                 Contingent
          911 N. Merriwether Street
                                                                                Unliquidated
          Clovis, NM 88101
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sacred Heart - Espanola                                               Contingent
          PO Box 69
                                                                                Unliquidated
          Espanola, NM 87532
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 14 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 78 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Saint John XXII Catholic Community                                    Contingent
          4831 Tramway Ridge Drive, NE
                                                                                Unliquidated
          Albuquerque, NM 87111
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Antonio de Padua                                                  Contingent
          PO Box 460
                                                                                Unliquidated
          Penasco, NM 87553-0460
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Clemente                                                          Contingent
          PO Box 147
                                                                                Unliquidated
          Los Lunas, NM 87031
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Diego Mission                                                     Contingent
          PO Box 79
                                                                                Unliquidated
          Jemez Pueblo, NM 87024
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Felipe de Neri                                                    Contingent
          PO Box 7007
                                                                                Unliquidated
          Albuquerque, NM 87194
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Francisco de Asis                                                 Contingent
          PO Box 72
                                                                                Unliquidated
          Ranchos De Taos, NM 87557
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Ignacio                                                           Contingent
          1300 Waler Street NE
                                                                                Unliquidated
          Albuquerque, NM 87102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 15 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 79 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Isidro                                                            Contingent
          3552 Aqua Fria Street
                                                                                Unliquidated
          Santa Fe, NM 87507
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Jose                                                              Contingent
          2401 Broadway Blvd. SE
                                                                                Unliquidated
          Albuquerque, NM 87102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Jose - Anton Chico                                                Contingent
          PO Box 99
                                                                                Unliquidated
          Anton Chico, NM 87711
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Jose - Los Ojos                                                   Contingent
          PO Box 6
                                                                                Unliquidated
          Los Ojos, NM 87551
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Juan Bautista                                                     Contingent
          PO Box 1075
                                                                                Unliquidated
          Ohkay Owingeh, NM 87566
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Juan Nepomuceno                                                   Contingent
          PO Box 7
                                                                                Unliquidated
          El Rito, NM 87530
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Miguel                                                            Contingent
          403 El Camino Real Street NW
                                                                                Unliquidated
          Socorro, NM 87801
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 80 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Miguel del Vado                                                   Contingent
          PO Box 507
                                                                                Unliquidated
          Ribera, NM 87560
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          San Ysidro                                                            Contingent
          PO Box 182
                                                                                Unliquidated
          Corrales, NM 87048
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sangre de Cristo                                                      Contingent
          8901 Candelaria Road NE
                                                                                Unliquidated
          Albuquerque, NM 87112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Santa Clara                                                           Contingent
          PO Box 186
                                                                                Unliquidated
          Roy, NM 87743
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Santa Maria de La Paz Catholic Community                              Contingent
          11 College Avenue
                                                                                Unliquidated
          Santa Fe, NM 87508
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Santo Nino - Tierra Amarilla                                          Contingent
          PO Box 160
                                                                                Unliquidated
          Tierra Amarilla, NM 87575
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Santuario San Martin de Porres                                        Contingent
          8321 Camino San Martin SW
                                                                                Unliquidated
          Albuquerque, NM 87121
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 81 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Shrine of Our Lady of Guadalupe - SF                                  Contingent
          417 Aqua Fria Street
                                                                                Unliquidated
          Santa Fe, NM 87501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Shrine of St. Bernadette                                              Contingent
          11509 Indian School Road NE
                                                                                Unliquidated
          Albuquerque, NM 87112
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Shrine of the Little Flower                                           Contingent
          St. Teresa of the Infant Jesus
                                                                                Unliquidated
          300 Mildred Avenue NW
          Albuquerque, NM 87107                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Indemnification/Contribution
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Alice                                                             Contingent
          PO Box 206
                                                                                Unliquidated
          Mountainair, NM 87036
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Anne                                                              Contingent
          1400 Arenal Road SW
                                                                                Unliquidated
          Albuquerque, NM 87105
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Anne - Tucumcari                                                  Contingent
          306 West High
                                                                                Unliquidated
          Tucumcari, NM 88401
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Anne's                                                            Contingent
          511 Alicia Street
                                                                                Unliquidated
          Santa Fe, NM 87501
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 18 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 82 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Anthony - Dixon                                                   Contingent
          PO Box 39
                                                                                Unliquidated
          Dixon, NM 87527
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Anthony - Questa                                                  Contingent
          PO Box 200
                                                                                Unliquidated
          Questa, NM 87556
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contributio
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Anthony of Padua - Fort Sumner                                    Contingent
          PO Box 370
                                                                                Unliquidated
          Fort Sumner, NM 88119
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Anthony of Padua - Pecos                                          Contingent
          HC 74, Box 23
                                                                                Unliquidated
          Pecos, NM 87552
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Augustine                                                         Contingent
          PO Box 849
                                                                                Unliquidated
          Isleta, NM 87022
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Charles                                                           Contingent
          1818 Coal Place SE
                                                                                Unliquidated
          Albuquerque, NM 87106
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Edwin                                                             Contingent
          2105 Barcelona Road SW
                                                                                Unliquidated
          Albuquerque, NM 87105
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 19 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 83 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Francis Xavier                                                    Contingent
          820 Broadway Blvd. SE
                                                                                Unliquidated
          Albuquerque, NM 87102
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Francis Xavier - Clayton                                          Contingent
          115 North 1st Street
                                                                                Unliquidated
          Clayton, NM 88415
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Gurtrude the Great                                                Contingent
          PO Box 599
                                                                                Unliquidated
          Mora, NM 87732
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Helen                                                             Contingent
          1600 South Avenue O
                                                                                Unliquidated
          Portales, NM 88130
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. John the Baptist - Santa Fe                                       Contingent
          1301 Osage Avenue
                                                                                Unliquidated
          Santa Fe, NM 87505
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. John Vianney Church                                               Contingent
          1001 Meteor Avenue NE
                                                                                Unliquidated
          Rio Rancho, NM 87144
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Joseph                                                            Contingent
          PO Box 516
                                                                                Unliquidated
          Springer, NM 87747
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 20 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 84 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Joseph - Cerrillos                                                Contingent
          PO Box 98
                                                                                Unliquidated
          Cerrillos, NM 87010
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Joseph on the Rio Grande                                          Contingent
          5901 St. Joseph Drive NW
                                                                                Unliquidated
          Albuquerque, NM 87120
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Jude Thaddeus                                                     Contingent
          5712 Paradise Blvd. NW
                                                                                Unliquidated
          Albuquerque, NM 87114
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Mary                                                              Contingent
          PO Box 276
                                                                                Unliquidated
          Vaughn, NM 88353
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Patrick - Chama                                                   Contingent
          PO Box 36
                                                                                Unliquidated
          Chama, NM 87520
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Patrick - St. Joseph                                              Contingent
          105 Buena Vista Street
                                                                                Unliquidated
          Raton, NM 87740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          St. Rose of Lima                                                      Contingent
          439 South 3rd Street
                                                                                Unliquidated
          Santa Rosa, NM 88435
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 21 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 85 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                      Case number (if known)
              Name

 3.130     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           St. Thomas Aquinas                                                   Contingent
           1502 Sara Road SE
                                                                                Unliquidated
           Rio Rancho, NM 87124
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?       No     Yes

 3.131     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           St. Thomas Aquinas University Parish                                 Contingent
           1815 Las Lomas Road NE
                                                                                Unliquidated
           Albuquerque, NM 87106
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?       No     Yes

 3.132     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           St. Thomas the Apostle                                               Contingent
           PO Box 117
                                                                                Unliquidated
           Abiquiu, NM 87510
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?       No     Yes

 3.133     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           The Cathedral Basilica of St. Francis                                Contingent
           PO Box 2127
                                                                                Unliquidated
           Santa Fe, NM 87504
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Indemnification/Contribution
                                                                             Is the claim subject to offset?       No     Yes

 3.134     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               Unknown
           Thomas Paickattu                                                     Contingent
           c/o Andrew Indahl, Altura Law Firm
                                                                                Unliquidated
           500 Marquette Drive NW, Ste. 1200
           Albuquerque, NM 87102                                                Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Tort Claim - Defamation of Character
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     3,700,000.00



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 22 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 86 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                                  Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              3,700,000.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                Page 23 of 23
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18      Entered 12/03/18 14:41:01 Page 87 of 207
 Fill in this information to identify the case:

 Debtor name         Roman Catholic Church of the Archdiocese of Santa Fe

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.1.        State what the contract or                   Workers Compensation
             lease is for and the nature of               insurance claims
             the debtor's interest                        management

                  State the term remaining                41 months
                                                                                          Adjusting Alternatives, LLC
             List the contract number of any                                              PO Box 14710
                   government contract                                                    Albuquerque, NM 87191-4710


 2.2.        State what the contract or                   Lease of one room
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months                        Catholic Mutual Society of America
                                                                                          4060 St. Joseph Place
             List the contract number of any                                              Rooms 135
                   government contract                                                    Albuquerque, NM 87120


 2.3.        State what the contract or                   Lease of one room
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months                        Dessie Montoya-Soto, Inc.
                                                                                          4060 St. Joseph Place
             List the contract number of any                                              Rooms 234
                   government contract                                                    Albuquerque, NM 87120


 2.4.        State what the contract or                   Lease of one room
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months                        Dominican Ecclesial Institute
                                                                                          4060 St. Joseph Place
             List the contract number of any                                              Room 232B
                   government contract                                                    Albuquerque, NM 87120




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18      Entered 12/03/18 14:41:01 Page 88 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor 1 Fe                                                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.5.        State what the contract or                   Lease of one room
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months                        George Garcia
                                                                                          4060 St. Joseph Place
             List the contract number of any                                              Rooms 150
                   government contract                                                    Albuquerque, NM 87120


 2.6.        State what the contract or                   Lease of one room
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months                        Kenneth J. Griesemer
                                                                                          4060 St. Joseph Place
             List the contract number of any                                              Rooms 232-A
                   government contract                                                    Albuquerque, NM 87120


 2.7.        State what the contract or                   Postage equipment
             lease is for and the nature of               lease
             the debtor's interest

                  State the term remaining
                                                                                          Mail Finance
             List the contract number of any                                              478 Wheelers Farm Road
                   government contract                                                    Milford, CT 06461


 2.8.        State what the contract or                   Lease of the San Juan
             lease is for and the nature of               Building - Santa Fe
             the debtor's interest

                  State the term remaining                2.5 years                       New Mexico School for the Arts
                                                                                          4060 St. Joseph Place
             List the contract number of any                                              San Juan Building
                   government contract                                                    Albuquerque, NM 87120


 2.9.        State what the contract or                   Lease of kitchen space
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                66 months
                                                                                          Old Town Catering Company
             List the contract number of any                                              4060 St. Joseph Place
                   government contract                                                    Albuquerque, NM 87120


 2.10.       State what the contract or                   Toshiba copy and fax
             lease is for and the nature of               equipment
             the debtor's interest
                                                                                          Southwest Copy Systems Leasing
                  State the term remaining                55 months                       4545 McLeod NE
                                                                                          Albuquerque, NM 87109
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 2 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18      Entered 12/03/18 14:41:01 Page 89 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor 1 Fe                                                                                      Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Lease of one room
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6 months                        St. Joseph's Fertility Care
                                                                                          4060 St. Joseph Place
             List the contract number of any                                              Rooms 130
                   government contract                                                    Albuquerque, NM 87120


 2.12.       State what the contract or                   St. Pius X High School
             lease is for and the nature of               leases property from
             the debtor's interest                        the Archdiocese -
                                                          permissive use
                                                          agreement
                  State the term remaining                                                St. Pius X High School
                                                                                          Catholic Center
             List the contract number of any                                              5301 St. Josephs Drive NW
                   government contract                                                    Albuquerque, NM 87120


 2.13.       State what the contract or                   Donor Advised Fund
             lease is for and the nature of               agreement to manage
             the debtor's interest                        funds and donations

                  State the term remaining                8 months
                                                                                          The Catholic Foundation
             List the contract number of any                                              4333 Pan American Fwy NE
                   government contract                                                    Albuquerque, NM 87107


 2.14.       State what the contract or                   Xerox office equipment
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                24 months
                                                                                          Xerox Financial Services
             List the contract number of any                                              45 Glover Avenue
                   government contract                                                    Norwalk, CT 06850




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 3 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18      Entered 12/03/18 14:41:01 Page 90 of 207
 Fill in this information to identify the case:

 Debtor name         Roman Catholic Church of the Archdiocese of Santa Fe

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
     Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                           Check all schedules
                                                                                                                                  that apply:

    2.1      Congregation of                   c/o Law Offices of Jeffrey E. Jones                                                   D
             Blessed                           PO Box 23450                                                                          E/F
             Sacrament                         Santa Fe, NM 87504                                                                    G
             Father                            c/o Paul R. Harris, Ulmer & Berne
                                               1660 West 2nd Street, Ste. 1100
                                               Cleveland, OH 44113
                                               Co-Defendant in lawsuit




    2.2      El Santuario de                   15 Santuario Drive                                                                    D
             Chimayo                           Chimayo, NM 87522                                                                     E/F
                                               Co-Defendant in lawsuit                                                               G




    2.3      Former Priest                     c/o Sons of the Holy Family                                                           D
             Marvin Archuleta                  801 Locust Place NE, Apt. 1018                                                        E/F
                                               Albuquerque, NM 87102                                                                 G
                                               Co-Defendant in lawsuit




    2.4      Holy Cross                        PO Box 1228                                                                           D
                                               Santa Cruz, NM 87567                                                                  E/F
                                               Co-Defendant in lawsuit                                                               G




Official Form 206H                                                             Schedule H: Your Codebtors                                      Page 1 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18   Entered 12/03/18 14:41:01 Page 91 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                              Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Holy Cross                        PO Box 1260                                                                  D
             Catholic School                   Santa Cruz, NM 87567                                                         E/F
                                               Co-Defendant in lawsuit                                                      G




    2.6      Holy Family -                     PO Box 235                                                                   D
             Chimayo                           Chimayo, NM 87522                                                            E/F
                                               Co-Defendant in lawsuit                                                      G




    2.7      Holy Ghost                        833 Arizona Street SE                                                        D
             Parish                            Albuquerque, NM 87108                                                        E/F
                                               Co-Defendant in lawsuit                                                      G




    2.8      Immaculate                        811 6th Street                                                               D
             Conception - Las                  Las Vegas, NM 87701                                                          E/F
             Vegas                             Co-Defendant in lawsuit                                                      G




    2.9      Josephine                         c/o Curtis and Lucero                                                        D
             Wafula                            215 Central Avenue NW Suite 300                                              E/F
                                               Albuquerque, NM 87102                                                        G
                                               Co-Defendant in lawsuit




    2.10     Larry Brito                       c/o St. Anne's                                                               D
                                               511 Alicia Street                                                            E/F
                                               Santa Fe, NM 87501                                                           G
                                               Co-Defendant in lawsuit




    2.11     Our Lady of                       4020 Lomas Blvd NE                                                           D
             Fatima                            Albuquerque, NM 87110                                                        E/F
                                               Co-Defendant in lawsuit                                                      G




    2.12     Our Lady of                       403 Valencia Street                                                          D
             Sorrows Church                    Las Vegas, NM 87701                                                          E/F
                                               Co-Defendant in lawsuit                                                      G




Official Form 206H                                                             Schedule H: Your Codebtors                             Page 2 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18   Entered 12/03/18 14:41:01 Page 92 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                              Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.13     Province of St.                   c/o Law Offices of Jeffrey E. Jones                                          D
             Ann                               PO Box 24350                                                                 E/F
                                               Santa Fe, NM 87504                                                           G
                                               c/o Paul R. Harris, Ulmer & Berne
                                               1660 West 2nd Street, Ste. 1100
                                               Cleveland, OH 44113
                                               Co-Defendant in lawsuit




    2.14     San Antonio de                    PO Box 460                                                                   D
             Padua                             Penasco, NM 87553                                                            E/F
                                               Co-Defendant in lawsuit                                                      G




    2.15     Servants of the                   c/o Law Offices of Jeffrey E. Jones                                          D
             Paraclete                         PO Box 24350                                                                 E/F
                                               Santa Fe, NM 87504                                                           G
                                               Co-Defendant in lawsuit




    2.16     Sons of the Holy                  c/o Modrall Sperling                                                         D
             Family, Inc.                      500 4th Street NW, Ste. 1000                                                 E/F
                                               Albuquerque, NM 87102                                                        G
                                               Co-Defendant in lawsuit




    2.17     St. Anne                          1400 Arenal Road SW                                                          D
                                               Albuquerque, NM 87105                                                        E/F
                                               Co-Defendant in lawsuit                                                      G




    2.18     St. Anthony -                     PO Box 200                                                                   D
             Questa                            Questa, NM 87556                                                             E/F
                                               Co-Defendant in lawsuit                                                      G




    2.19     St. Bernadette                    11509 Indian School Rd. NE                                                   D
             Parish                            Albuquerque, NM 87112                                                        E/F
                                               Co-Defendant in lawsuit                                                      G




Official Form 206H                                                             Schedule H: Your Codebtors                             Page 3 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18   Entered 12/03/18 14:41:01 Page 93 of 207
              Roman Catholic Church of the Archdiocese of Santa
 Debtor       Fe                                                                              Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.20     St. Charles                       1818 Coal Place SE                                                           D
                                               Albuquerque, NM 87106                                                        E/F
                                               Co-Defendant in lawsuit                                                      G




    2.21     St. Therese of                    3424 4th Street NW                                                           D
             the Infant Jesus                  Albuquerque, NM 87107                                                        E/F
             Parish                            Co-Defendant in lawsuit                                                      G




    2.22     St. Vincent de                    c/o Robert Warburton and Sara Sanchez                                        D
             Paul Society                      PO Box 528                                                                   E/F
                                               Albuquerque, NM 87102                                                        G
                                               Co-Defendant in lawsuit




    2.23     The Holy See,                     Apostolic Nunciature                                                         D
             Archbishop                        3339 Massachusetts Avenue NW                                                 E/F
             Pierre                            Washington, DC 20008                                                         G
                                               Co-Defendant in lawsuit




    2.24     Thomas                            1017 Florida SE                                                              D
             Mayefske                          Albuquerque, NM 87108                                                        E/F
                                               Co-Defendant in lawsuit                                                      G




Official Form 206H                                                             Schedule H: Your Codebtors                             Page 4 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18   Entered 12/03/18 14:41:01 Page 94 of 207
 Fill in this information to identify the case:

 Debtor name         Roman Catholic Church of the Archdiocese of Santa Fe

 United States Bankruptcy Court for the:            DISTRICT OF NEW MEXICO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                     $5,695,617.00
       From 7/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $9,838,961.00
       From 7/01/2017 to 6/30/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                     $9,581,020.00
       From 7/01/2016 to 6/30/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                   Interest, realized and
       From 7/01/2018 to Filing Date                                                           unrealized gains and losses
                                                                                               on investments (Loss of
                                                                                               $219,660)                                                 $0.00


       For prior year:                                                                         Interest, realized and
       From 7/01/2017 to 6/30/2018                                                             unrealized gains and losses
                                                                                               on investments                                 $495,570.00




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18        Entered 12/03/18 14:41:01 Page 95 of 207
 Debtor       Roman Catholic Church of the Archdiocese of Santa Fe                                      Case number (if known)



                                                                                               Description of sources of revenue               Gross revenue from
                                                                                                                                               each source
                                                                                                                                               (before deductions and
                                                                                                                                               exclusions)
       For year before that:                                                                   Interest, realized and
       From 7/01/2016 to 6/30/2017                                                             unrealized gains and losses
                                                                                               on investments, gain on
                                                                                               swap agreement
                                                                                               termination/fair value
                                                                                               adjustment                                              $1,132,283.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Various Vendors                                             Various                       $4,344,151.50                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other See Attached Exhibit
                                                                                                                                 4


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Archbishop John C. Wester                                   12/31/17 -                       $28,056.59           Salary
               4000 St. Josephs Place NW                                   11/30/18
               Albuquerque, NM 87120
               Archbishop

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18         Entered 12/03/18 14:41:01 Page 96 of 207
 Debtor       Roman Catholic Church of the Archdiocese of Santa Fe                                      Case number (if known)



           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    JOHN DOE "69" v.                                  Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2018-00128                                                         Albuquerque, NM 87102

       7.2.    JOHN DOE "67" v.                                  Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2017-05701                                                         Albuquerque, NM 87102

       7.3.    JOHN DOE "70" v.                                  Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2017-08542                                                         Albuquerque, NM 87102

       7.4.    JOHN DOE 71 v.                                    Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2017-06147                                                         Albuquerque, NM 87102

       7.5.    JOHN DOE "73" v.                                  Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2017-08529                                                         Albuquerque, NM 87102

       7.6.    JOHN DOE 74 v.                                    Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2018-00247                                                         Albuquerque, NM 87102

       7.7.    JOHN DOE "76" v.                                  Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2018-00108                                                         Albuquerque, NM 87102

       7.8.    JOHN DOE "77" v.                                  Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2018-00896                                                         Albuquerque, NM 87102

       7.9.    JOHN DOE 78 v.                                    Civil                     New Mexico District Court                    Pending
               ARCHDIOCESE OF SANTA                                                        Second Judicial District                     On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                        Concluded
               D-202-CV-2018-00248                                                         Albuquerque, NM 87102




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18        Entered 12/03/18 14:41:01 Page 97 of 207
 Debtor      Roman Catholic Church of the Archdiocese of Santa Fe                                       Case number (if known)



               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.10 JOHN DOE "79" v.                                     Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-03902                                                         Albuquerque, NM 87102

       7.11 JOHN DOE "80" v.                                     Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-02752                                                         Albuquerque, NM 87102

       7.12 JOHN DOE "82" v.                                     Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-01202                                                         Albuquerque, NM 87102

       7.13 JOHN DOE "83" v.                                     Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-02799                                                         Albuquerque, NM 87102

       7.14 JOHN DOE "84" v.                                     Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-02800                                                         Albuquerque, NM 87102

       7.15 JOHN DOE "87" v.                                     Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-04846                                                         Albuquerque, NM 87102

       7.16 JOHN DOE "88" v.                                     Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-04847                                                         Albuquerque, NM 87102

       7.17 JANE DOE "G" v.                                      Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-01040                                                         Albuquerque, NM 87102

       7.18 JANE DOE "I" v.                                      Civil                     New Mexico District Court                Pending
       .    ARCHDIOCESE OF SANTA                                                           Second Judicial District                 On appeal
               FE, et al.                                                                  400 Lomas Blvd NW
                                                                                                                                    Concluded
               D-202-CV-2018-03907                                                         Albuquerque, NM 87102

       7.19 JOHN DOE 1, JOHN DOE 2,                              Civil                     New Mexico District Court                Pending
       .    JOHN DOE 3, JOHN DOE 4,                                                        First Judicial District                  On appeal
               JOHN DOE 5,                                                                 225 Montezuma Ave.
                                                                                                                                    Concluded
               JOHN DOE 6, JOHN DOE 7, v.                                                  Santa Fe, NM 87501
               ROMAN CATHOLIC CHURCH
               OF THE ARCHDIOCESE OF
               SANTA FE, et al.
               D-101-CV-2016-02908

       7.20 JOHN DOE, v. THE HOLY SEE                            Civil                     New Mexico District Court                Pending
       .    (THE CATHOLIC CHURCH OF                                                        First Judicial District                  On appeal
               THE                                                                         225 Montezuma Ave.
                                                                                                                                    Concluded
               VATICAN IN ROME, et al.                                                     Santa Fe, NM 87501
               D-101-CV-2018-03085
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

          Case 18-13027-t11                        Doc 1             Filed 12/03/18        Entered 12/03/18 14:41:01 Page 98 of 207
 Debtor      Roman Catholic Church of the Archdiocese of Santa Fe                                           Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.21 Thomas Paickattu, v.                                 Civil                        New Mexico District Court                   Pending
       .    Archdiocese of Santa Fe, et                                                       First Judicial District                     On appeal
               al.                                                                            225 Montezuma Ave.
                                                                                                                                          Concluded
               D-101-CV-2018-02723                                                            Santa Fe, NM 87501

       7.22 CHRISTINE B. ROMERO, v.                              Civil                        New Mexico District Court                   Pending
       .    ARCHDIOCESE OF SANTA                                                              First Judicial District                     On appeal
               FE, et al.                                                                     225 Montezuma Ave.
                                                                                                                                          Concluded
               D-101-CV-2017-03131                                                            Santa Fe, NM 87501

       7.23 RUDY BLEA, v.                                        Civil                        New Mexico District Court                   Pending
       .    ARCHDIOCESE OF SANTA                                                              First Judicial District                     On appeal
               FE, et al.                                                                     225 Montezuma Ave.
                                                                                                                                          Concluded
               D-101-CV-2018-00893                                                            Santa Fe, NM 87501


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Roof damage on the Catholic                                                                                          09/11/2018                       $7,981.05
       Center Building.

       Misc. damage at St. Pius Church                                                                                      09/25/2018                       $5,000.00
       (Leased Property)


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

           Case 18-13027-t11                       Doc 1             Filed 12/03/18           Entered 12/03/18 14:41:01 Page 99 of 207
 Debtor        Roman Catholic Church of the Archdiocese of Santa Fe                                     Case number (if known)



                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Elsaesser Anderson, Chtd.                                                                                      10/26/18 -
                320 East Neider Avenue, Suite                                                                                  $50,000.00
                102                                                                                                            11/29/18 -
                Coeur D Alene, ID 83815                                                                                        $50,000.00      $100,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.    Briggs and Morgan
                80 S. 8th Street
                Minneapolis, MN 55402                                                                                          10/18/18          $15,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.3.                                                                                                                   9/20/18 -
                                                                                                                               $13,024.18
                                                                                                                               10/19/18 -
                                                                                                                               $17,638.64
                                                                                                                               11/19/18 -
                                                                                                                               $11,016.20
                                                                                                                               12/3/18 -
                Walker and Associates, PC                                                                                      $9,160.22
                500 Marguette Avenue, NW                                                                                       11/19/18 -
                Albuquerque, NM 87102                                                                                          $15,000.00        $65,839.24

                Email or website address


                Who made the payment, if not debtor?




       11.4.                                                                                                                   11/7/2018 -
                                                                                                                               $8,996.78
                                                                                                                               11/21/18 -
                                                                                                                               $6,990.30
                King Industries Corporation                                                                                    11/28/18 -
                Patrick Kennedy                                                                                                $9,708.75
                PO Box 273                                                                                                     12/3/18 -
                Alto, NM 88312                                                                                                 $1,035.60         $26,731.43

                Email or website address


                Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy

          Case 18-13027-t11                       Doc 1          Filed 12/03/18           Entered 12/03/18 14:41:01 Page 100 of 207
 Debtor        Roman Catholic Church of the Archdiocese of Santa Fe                                      Case number (if known)



                Who was paid or who received                         If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                        value
                Address
       11.5.    Macken Law Firm
                6000 Indian School Road NE
                Albuquerque, NM 87110                                                                                          11/30/18           $1,748.11

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers       Total amount or
                                                                                                                      were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                            Description of property transferred or                  Date transfer      Total amount or
               Address                                           payments received or debts paid in exchange             was made                    value
       13.1 Immaculate Conception -
       .    Cimarron                                             Land held for future parish site,
               440 W. 18th Street                                transferred to parish 3 years after church
               Cimarron, NM 87714                                dedication, per ASF policy.                             1/25/2018               $85,670.02

               Relationship to debtor



       13.2 Joseph Contreras                                     Land held for future parish site,
       .    2500 Mountain Road                                   transferred to parish 3 years after church
               Albuquerque, NM 87104                             dedication, per ASF policy.                             9/30/2017               $14,219.13

               Relationship to debtor



       13.3                                                      See Exhibit 5. Transfer of real property
       .    Various Real Properties                              by deed of property titled to Debtor held
                                                                 in trust for Parishes.                                                    $34,222,533.00

               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy

          Case 18-13027-t11                       Doc 1          Filed 12/03/18           Entered 12/03/18 14:41:01 Page 101 of 207
 Debtor      Roman Catholic Church of the Archdiocese of Santa Fe                                       Case number (if known)



                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    403(b)                                                                                     EIN:

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

           Case 18-13027-t11                      Doc 1          Filed 12/03/18           Entered 12/03/18 14:41:01 Page 102 of 207
 Debtor      Roman Catholic Church of the Archdiocese of Santa Fe                                       Case number (if known)



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Archdiocese of Santa Fe                                       Wells Fargo Bank                     Various investment and cash           $36,788,015.0
       Deposit and Loan Fund Trust                                   Cash and Investment                  accounts, and loans                               0
       4000 St. Josephs Place NW                                     Accounts                             receivables from Parishes.
       Albuquerque, NM 87120                                                                              See Exhibit 6

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Parishes and Schools                                          Morgan Stanley                       Various investment accounts,          $2,578,233.00
                                                                     Bank of America                      See Exhibit 7
                                                                     Catholic Foundation

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Various Parishes                                              Various Parishes                     Real Property. See Exhibit 8          $57,433,190.0
                                                                     See location on attached                                                               4
                                                                     Exhibit
                                                                     Property Titled to Debtor

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Various Parishes                                              Morgan Stanley                       Various checking, savings,            $1,349,542.29
       share of insurance programs                                   Bank of America                      money market or financial
                                                                                                          brokerage accounts. See
                                                                                                          Exhibit 9


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy

          Case 18-13027-t11                       Doc 1          Filed 12/03/18           Entered 12/03/18 14:41:01 Page 103 of 207
 Debtor      Roman Catholic Church of the Archdiocese of Santa Fe                                       Case number (if known)



    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Tony Salgado                                                                                                               2016 - Present
                    4000 St. Joseph's Place NW
                    Albuquerque, NM 87120

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       REDW LLC                                                                                                                   2016 - Present
                    PO Box 93656
                    Albuquerque, NM 87199

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Patrick Kennedy, CPA
                    PO Box 273
                    Alto, NM 88312

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 10
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy

          Case 18-13027-t11                       Doc 1          Filed 12/03/18           Entered 12/03/18 14:41:01 Page 104 of 207
 Debtor      Roman Catholic Church of the Archdiocese of Santa Fe                                       Case number (if known)



       Name and address
       26d.1.       Catholic Mutual Group
                    PO Box 30104
                    Omaha, NE 68103-1204
       26d.2.       Bank of America
                    PO Box 15282
                    Wilmington, DE 19850
       26d.3.       State of New Mexico Workers Comp Div.
                    2410 Centre Avenue SE
                    Albuquerque, NM 87106
       26d.4.       Catholic Extension Society Chicago
                    150 S Wacker Drive, #2000
                    Chicago, IL 60606
       26d.5.       Catholic Foundation
                    4333 Pan American Fwy NE
                    Suite D
                    Albuquerque, NM 87107
       26d.6.       Raskob Foundation Catholic Activities
                    PO Box 4019
                    Wilmington, DE 19807

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John C. Wester                                 4000 St. Josephs Place NW                           Archbishop
                                                      Albuquerque, NM 87120

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John C. Daniel                                 4000 St. Josephs Place NW                           Vicar General
                                                      Albuquerque, NM 87120

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Thomas P. Macken                               4000 St. Josephs Place NW                           Chancellor
                                                      Albuquerque, NM 87120

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Tony Salgado                                   4000 St. Josephs Place NW                           Executive Director of Finance
                                                      Albuquerque, NM 87120



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

          Case 18-13027-t11                       Doc 1          Filed 12/03/18           Entered 12/03/18 14:41:01 Page 105 of 207
 Debtor       Roman Catholic Church of the Archdiocese of Santa Fe                                      Case number (if known)




            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                                                                              Monthly
       .                                                                                                                 salary
               Archbishop John C. Wester                                                                                 payments
               4000 St. Josephs Place NW                                                                                 from 12/2017 -
               Albuquerque, NM 87120                             $28,056.59                                              11/2018           Salary

               Relationship to debtor
               Archbishop


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 3, 2018

 /s/ Archbishop John C. Wester                                          Archbishop John C. Wester
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy

          Case 18-13027-t11                       Doc 1          Filed 12/03/18           Entered 12/03/18 14:41:01 Page 106 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 107 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 108 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 109 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 110 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 111 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 112 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 113 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 114 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 115 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 116 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 117 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 118 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 119 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 120 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 121 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 122 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 123 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 124 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 125 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 126 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 127 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 128 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 129 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 130 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 131 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 132 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 133 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 134 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 135 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 136 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 137 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 138 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 139 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 140 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 141 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 142 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 143 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 144 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 145 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 146 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 147 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 148 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 149 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 150 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 151 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 152 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 153 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 154 of 207
                                           Exhibit 6


 The Deposit & Loan Fund Trust assets are not owned by the Roman Catholic Church of the
 Archdiocese of Santa Fe, a corporation sole. Pursuant to an agreement entitled D & L Fund
 Support Services Agreement, and the Deposit & Loan Trust Indenture and Bylaws, the ADSF
 provides accounting and management services to the Archdiocese of Santa Fe Deposit & Loan
 Fund Trust. The ADSF is not the custodian of these funds; the true custodians are the Trustees
 of the Trust. The ADSF maintains no investments in the Archdiocese of Santa Fe Deposit &
 Loan Fund Trust, and is not a beneficial owner of any assets of the Archdiocese of Santa Fe
 Deposit & Loan Fund Trust.




Case 18-13027-t11     Doc 1    Filed 12/03/18    Entered 12/03/18 14:41:01 Page 155 of 207
                                              Exhibit 7

 Part 4, Question 14 and Part 11, Question 21 (SOFA)
 Various Investments - Itemized


 The Debtor is civilly incorporated as the "Roman Catholic Church of the Archdiocese of Santa
 Fe, a New Mexico corporation sole" (ASF). The Code of Canon Law of the Roman Catholic
 Church requires that each entity within the Archdiocese (e.g., parish, institution) is a separate
 entity within the Church. The Debtor may hold title to property which is held in trust for the
 benefit of those separate entities. Therefore, except as otherwise stated, the property listed on the
 attached list is held for the benefit of the parishes and institutions of the Archdiocese, and is not
 property of the estate.



 ADSF - Morgan Stanley Municipal Bonds
 Shared Insurance Program, Account No. 3268
 Held fbo Parishes and schools
 Approximate Value: $47,107.00

 ADSF - Morgan Stanley Corporate Fixed Income
 Shared Insurance Program, Account No. 3268
 Held fbo Parishes and schools
 Approximate Value: $679,510.00

 ADSF – Morgan Stanley
 Government Securities, Account No. 3268
 Held fbo Parishes and schools
 Approx Value: $3,337.00

 ADSF – Morgan Stanley CD Account No. 3268
 Held fbo Parishes and schools
 Approx Value: $228,022.00

 ADSF – Bank of America CD Account No. 6391
 Held fbo Parishes and schools
 Approx Value: $1,033,550.00

 ADSF – Catholic Umbrella Pool - Stocks
 Held in Trust fbo Parishes and schools (Illiquid)
 Approx Value: $586,707.00


 Total - $2,578,233




Case 18-13027-t11       Doc 1     Filed 12/03/18     Entered 12/03/18 14:41:01 Page 156 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 157 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 158 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 159 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 160 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 161 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 162 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 163 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 164 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 165 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 166 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 167 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 168 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 169 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 170 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 171 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 172 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 173 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 174 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 175 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 176 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 177 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 178 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 179 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 180 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 181 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 182 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 183 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 184 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 185 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 186 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 187 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 188 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 189 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 190 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 191 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 192 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 193 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 194 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 195 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 196 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 197 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 198 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 199 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 200 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 201 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 202 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 203 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 204 of 207
Case 18-13027-t11   Doc 1   Filed 12/03/18   Entered 12/03/18 14:41:01 Page 205 of 207
                                              Exhibit 9

 Part 1, Question 3 and Part 11, Question 21 (SOFA)

 Checking, Savings, Money Market, or Financial Brokerage Accounts – Itemized:

 The Debtor is civilly incorporated as the "Roman Catholic Church of the Archdiocese of Santa
 Fe, a New Mexico corporation sole" (ADSF). The Code of the Canon Law of the Roman
 Catholic Church requires that each entity within the Archdiocese (e.g., parish, institution) is a
 separate entity within the Church. The Debtor may hold title to property which is held in trust
 for the benefit of those separate entities. Therefore, except as otherwise stated, the property
 listed below is held for the benefit of the parishes and institutions of the Archdiocese, and is not
 the property of the estate.


 Checking – Self Insurance
 Shared Insurance Program
 Bank of America, Account No. 6317
 Approx Value: $655,653.00

 Checking – Property Insurance Account
 Property Insurance Reserve
 Bank of America, Account No. 0078
 Approx Value: $611,931.00

 Checking – Claims Account
 Shared Insurance Program
 Bank of America, Account No. 5601
 Approx Value: $11,605.00

 Checking – Cash Account
 Shared Insurance Program
 Morgan Stanley, Account No. 3268
 Approx Value: $70,353.00



 Total - $1,349,542.29




Case 18-13027-t11        Doc 1   Filed 12/03/18     Entered 12/03/18 14:41:01 Page 206 of 207
                                                               United States Bankruptcy Court
                                                                        District of New Mexico
 In re      Roman Catholic Church of the Archdiocese of Santa Fe                                                      Case No.
                                                              Debtor(s)                                               Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date December 3, 2018                                                       Signature /s/ Archbishop John C. Wester
                                                                                            Archbishop John C. Wester

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



         Case 18-13027-t11                        Doc 1          Filed 12/03/18         Entered 12/03/18 14:41:01 Page 207 of 207
